                                  Case 1:19-cr-00366-LGS Document 184-1 Filed 05/06/21 Page 1 of 13
                                                                              United States v. Stephen Calk, 19 Cr. 366 (LGS)
                                                                                         Government Exhibit List
                                                                                                   5/6/2021
*: The Government respectfully requests that the Court not immediately admit or resolve disputes over exhibits with exhibit numbers marked with an asterisk, as the Government intends to offer these exhibits, if at all, only under certain
conditions.
                                                                                                                 0 Series
                                                                                                              Loan Documents
       GX                                               Description                                                                 Bates Range/Identifier                                                Defense Objections
        1           Bridgehampton loan executed documents                                                             SDNY_00190743 to SDNY_00190817
       2            Bridgehampton loan credit approval memorandum                                                     SDNY_00190852 to SDNY_00190861
       3            Brooklyn loan executed documents                                                                  SDNY_00190521 to SDNY_00190728
       4            Brooklyn loan credit approval memorandum                                                          SDNY_00191804 to SDNY_00191813
       5            Brooklyn loan holding company participations                                                         TFSB0016393 to TFSB0016416
       6*           General ledger entry: TFSB charge-off                                                                      SDNY_0073672                                                 Relevance; Rule 403
       7*           General ledger entry: NCHI charge-off                                                                      SDNY_0074014                                                 Relevance; Rule 403
                                                                                                                50 Series
                                                                                                             Handwritten Notes
       GX                                               Description                                                                 Bates Range/Identifier                                                Defense Objections

                                                                                                              TFSB0055622 to TFSB0055647 (copy of physical exhibit) Hearsay
      51*           Dennis Raico handwritten notes
      51-1          Dennis Raico handwritten notes                                                                               TFSB0055630                                                Hearsay
      51-2          Dennis Raico handwritten notes                                                                               TFSB0055640                                                Hearsay
      51-3          Dennis Raico handwritten notes                                                                               TFSB0055642                                                Hearsay
      51-4          Dennis Raico handwritten notes                                                                               TFSB0055645                                                Hearsay
      52*           Martin Silverstein handwritten notes                                                            TFA_CALK.0004326 to TFA_CALK.0004327                                    Hearsay
                                                                                                                  100 Series
                                                                                                                 TFSB Emails
       GX                                               Description                                                          Bates Range/Identifier                                                       Defense Objections
       101                                                                                                                SDNY_00250792 to SDNY_00250796
                    Email from Robert Jones to Dennis Raico, April 12, 2016
                    Email from Steve Calk to Jim Brennan, Javier Ubarri, and Jim
       102                                                                                                                SDNY_00241898 to SDNY_00241899
                    Norini, April 26, 2016
       103          Calendar invite for event May 10, 2016                                                                              SDNY_00241890
       104                                                                                                                              SDNY_00238937
                    Email from Steve Calk to Paul Manafort, May 11, 2016
       105          Calendar invite for event July 27, 2016                                                               SDNY_00241864 to SDNY_00241865
                    Email from Dennis Raico to Elizabeth Cholakis and Steve Calk,
       106                                                                                                                SDNY_00238948 to SDNY_00238949
                    July 27, 2016
                    Email from Steve Calk to Javier Ubarri, Jim Norini, and Jim                                           SDNY_00241880 to SDNY_00241878
       107
                    Brennan with attachments, July 28, 2016                                                                 (Bates numbers in reverse order)

       108          Email from Steve Calk to Dennis Raico, Javier Ubarri, Jim Brennan,                                    SDNY_00241871 to SDNY_00241875
                    and Thomas Horn, July 28, 2016
                    Email from Jim Brennan to Dennis Raico with attachment, July 28,
       109                                                                                                                SDNY_00254086 to SDNY_00254093
                    2016
       110                                                                                                                SDNY_00254213 to SDNY_00254218
                    Email from Dennis Raico to Anna Ivakhnik, August 1, 2016
       111                                                                                                                              SDNY_00254290
                    Email from Paul Manafort to Dennis Raico, August 3, 2016
       112                                                                                                                              SDNY_00254297
                    Email from Dennis Raico to Paul Manafort, August 4, 2016
                    Email from Paul Manafort to Steve Calk with attachment, August 4,
       113                                                                                                                SDNY_00238979 to SDNY_00238982
                    2016
       114                                                                                                                  SDNY_00241867 to SDNY_241868
                    Email from Steve Calk to Paul Manafort, August 4, 2016

                    Email from Rick Gates to Rick Gates, Paul Manafort, Steven
       115                                                                                                                SDNY_00239883 to SDNY_00239891
                    Mnuchin, Dan Kowalski, Jason Miller, Bryan Lanza, Jared Kushner,
                    and Stephen Miller with attachments, August 8, 2016
       116                                                                                                                              SDNY_00254561
                    Email from Anna Ivakhnik to Dennis Raico, August 8, 2016
                    Email from Rick Gates to Steve Calk with attachments, August 8,
       117                                                                                                                SDNY_00238994 to SDNY_00239006
                    2016
       118                                                                                                                              SDNY_00239036
                    Email from Paul Manafort to Steve Calk, August 9, 2016
       119          Paul Manafort contact card                                                                                          SDNY_00239035
                    Email from Kellie Kennedy to Steve Calk and Eileen Rochford,
       120                                                                                                                     TFSB0089994 to TFSB0089996
                    August 9, 2016
                    Email from Kellie Kennedy to Steve Calk and Eileen Rochford,
       121                                                                                                                     TFSB0090032 to TFSB0090034
                    August 9, 2016
                    Email from Anna Ivakhnik to Cindy Laporta and Dennis Raico,
      122*                                                                                                                SDNY_00254703 to SDNY_00254705
                    August 10, 2016

      123*          Email from Anna Ivakhnik to Heather Washkuhn, Cindy Laporta,                                          SDNY_00245297 to SDNY_00245306
                    and Paul Manafort with attachment, August 11, 2016

      124*          Email from Heather Washkuhn to Anna Ivakhnik, Cindy Laporta,                                          SDNY_00245757 to SDNY_00245762
                    and Paul Manafort with attachment, August 11, 2016
                  Case 1:19-cr-00366-LGS Document 184-1 Filed 05/06/21 Page 2 of 13
125*   Email from Cindy Laporta to Anna Ivakhnik, Paul Manafort, and        SDNY_00245767 to SDNY_00245771
       Heather Washkuhn, August 11, 2016
126*                                                                        SDNY_00239051 to SDNY_00239053
       Email from Steve Calk to Paul Manafort, August 12, 2016
       Email from Steve Calk to kelliek@theharbingergroup.com, August
127*                                                                        SDNY_00239054 to SDNY_00239056
       12, 2016
       Email from Paul Manafort to Anna Ivakhnik with attachment,
128*                                                                        SDNY_00246187 to SDNY_00246188
       August 15, 2016
       Email from no-reply@thefederalsavings.bank to Thomas Horn with                                         Relevance; Hearsay
129                                                                            TFSB0015855 to TFSB0015856
       attachment, July 5, 2017
130*                                                                                SDNY_00239078
       Email from Donald J. Trump to Steve Calk, August 19, 2016
131                                                                                   TFSB0086133
       Email from Steve Calk to Bryan Lanza, August 21, 2016
132*                                                                        SDNY_00247148 to SDNY_00247149
       Email from Thomas Horn to Anna Ivakhnik, August 22, 2016
       Email from dealroomresults@cscinfo.com to Thomas Horn, August
133*                                                                                SDNY_00280446
       23, 2016
       Email from dealroomresults@cscinfo.com to Thomas Horn, August
134*                                                                                SDNY_00280451
       24, 2016
       Email from dealroomresults@cscinfo.com to Thomas Horn, August
135*                                                                                SDNY_00280452
       25, 2016
                                                                                                              Hearsay
136                                                                                 SDNY_00247203
       Email from Dennis Raico to Anna Ivakhnik, August 24, 2016
       Email from Anna Ivakhnik to Jeff Yohai, Dennis Raico, and Felix
137                                                                         SDNY_00249555 to SDNY_00249557
       Katz, August 30, 2016

138*   Email from Dennis Raico to bbaldinger@baldingerlaw.com with          SDNY_00270623 to SDNY_00270670
       attachment, August 30, 2016
       Email from Anna Ivakhnik to Dennis Raico with attachments,
139                                                                         SDNY_00249609 to SDNY_00249730
       September 1, 2016
       Email from Steve Calk to Jillian Rogers, Alexa Henning, and Scott
140                                                                            TFSB0090215 to TFSB0090216
       Hogenson, September 3, 2016
       Email from Dennis Raico to Anna Ivakhnik with attachments,
141                                                                         SDNY_00248394 to SDNY_002483947
       September 8, 2016
142                                                                         SDNY_00249859 to SDNY_00249860
       Email from Anna Ivakhnik to Dennis Raico, September 8, 2016
143                                                                         SDNY_00247450 to SDNY_00247453
       Email from Dennis Raico to Anna Ivakhnik, September 9, 2016
       Email from Jackie Katz to Javier Ubarri and Jim Norini, September
144                                                                                 SDNY_00277323
       10, 2016
       Email from Baylor Myers to Steve Calk and Steven Mnuchin,
145*                                                                        SDNY_00239095 to SDNY_00239096
       September 13, 2016

146    Email from Thomas Horn to Javier Ubarri, Jim Norini, and Jim         SDNY_00277811 to SDNY_00277816
       Brennan with attachments, September 13, 2016

147    Email from Jim Brennan to Jim Norini and Javier Ubarri with native   SDNY_00277817 to SDNY_00277836
       attachments, September 14, 2016
       Attachment A to GX 147
       Attachment B to GX 147
       Attachment C to GX 147
       Attachment D to GX 147
       Attachment E to GX 147
       Attachment F to GX 147
       Attachment G to GX 147
       Attachment H to GX 147
       Email from Jim Brennan to Jim Norini and Javier Ubarri, September
148*                                                                        SDNY_00277837 to SDNY_00277840
       14, 2016
       Email from Jim Brennan to Javier Ubarri and Jim Norini, September
149                                                                         SDNY_00277841 to SDNY_00277842
       14, 2016
150                                                                         SDNY_00279182 to SDNY_00279184
       Email from Javier Ubarri to Dennis Raico, September 14, 2016
       Email from Steve Calk to Jillian Rogers, Kellyanne Conway, and
151*                                                                           TFSB0090283 to TFSB0090284
       Bryan Lanza, September 19, 2016
152                                                                         SDNY_00277920 to SDNY_00277921
       Email from Jim Brennan to Javier Ubarri, September 20, 2016
153*   Paul Manafort contact card                                                   SDNY_00239877

154    Email from Jim Brennan to Javier Ubarri, Jim Norini, and Thomas      SDNY_00278108 to SDNY_00278122
       Horn with native attachments, September 21, 2016
       Attachment A to GX 154
       Attachment B to GX 154
       Attachment C to GX 154
       Attachment D to GX 154
       Attachment E to GX 154
       Attachment F to GX 154

155*   Email from Jim Brennan to Javier Ubarri, Steve Calk, Thomas          SDNY_00278123 to SDNY_00278126
       Horn, and Jim Norini, September 21, 2016
                    Case 1:19-cr-00366-LGS Document 184-1 Filed 05/06/21 Page 3 of 13
         Email from Javier Ubarri to Steve Calk and Dennis Raico,
 156                                                                          SDNY_00239119 to SDNY_00239123
         September 21, 2016

         Email from Jillian Rogers to Steve Calk, hogie57@gmail.com,
 157*                                                                                  TFSB0086135
         alexa@jamestownassociates.com, Bryan Lanza, and Kellyanne
         Conway, September 22, 2016
         Email from Jillian Rogers to Steve Calk, Bernard Banks, and Kellie
 158                                                                          SDNY_00239137 to SDNY_00239138
         Kennedy, September 23, 2016
 159                                                                          SDNY_00239139 to SDNY_00239140
         Email from Steve Calk to Paul Manafort, September 23, 2016
 160                                                                          SDNY_00247581 to SDNY_00247584
         Email from Jim Brennan to Anna Ivakhnik, September 23, 2016
 161                                                                                  SDNY_00239156
         Email from Paul Manafort to Steve Calk, September 25, 2016
 162*    Email from Steve Calk to Ken Harris, undated                         SDNY_00239159 to SDNY_00239160
 163                                                                          SDNY_00258595 to SDNY_00258596
         Email from Dennis Raico to Steve Calk, September 26, 2016
 164     Calendar invite for event September 26, 2016                         SDNY_00239860 to SDNY_00239861
                                                                                                               Hearsay
 165                                                                          SDNY_00258603 to SDNY_00258604
         Email from Sam Heskel to Dennis Raico, September 26, 2016
 166*    Note, January 8, 2017                                                        SDNY_00239892
         Email from Dennis Raico to Jim Brennan and Thomas Horn,
 167                                                                          SDNY_00271034 to SDNY_00271036   Hearsay
         September 26, 2016
         Email from Steve Calk to Baylor Myers and Steven Mnuchin,
 168*                                                                           TFSB0090305 to TFSB0090306
         September 26, 2016
 169                                                                          SDNY_00256693 to SDNY_00256695
         Email from Dennis Raico to Anna Ivakhnik, September 27, 2016

 170*    Email from Anna Ivakhnik to Jim Brennan, Thomas Horn, Dennis         SDNY_00239893 to SDNY_00239894
         Raico, and Steve Calk with attachment, September 27, 2016

 171*    Email from Dennis Raico to Jim Brennan, Anna Ivakhnik, Thomas        SDNY_00239897 to SDNY_00239899
         Horn, and Steve Calk, September 27, 2016
 172                                                                          SDNY_00247625 to SDNY_00247627
         Email from Jim Brennan to Anna Ivakhnik, September 27, 2016
 173                                                                          SDNY_00250728 to SDNY_00250728
         Email from Anna Ivakhnik to Jim Brennan, September 27, 2016
         Email from Thomas Horn to Dennis Raico and Jim Brennan,
 174*                                                                         SDNY_00259007 to SDNY_00259008
         September 28, 2016
         Email from Jim Brennan to Dennis Raico and Thomas Horn with
 175                                                                          SDNY_00284312 to SDNY_00284359
         attachments, October 3, 2016
 176                                                                          SDNY_00271216 to SDNY_00271217
         Email from Dennis Raico to Paul Manafort, October 4, 2016
 177                                                                          SDNY_00271239 to SDNY_00271240
         Email from Dennis Raico to Javier Ubarri, October 5, 2016                                             Hearsay
         Email from Dennis Raico to Thomas Horn and Jim Brennan,
 178*                                                                         SDNY_00271248 to SDNY_00271249
         October 6, 2016
         Email from Steve Calk to Bryan Lanza, Jillian Rogers, and Paul
 179*                                                                                 SDNY_00241830
         Manafort, October 6, 2016
 180*                                                                                  SDNY_239170
         Email from Paul Manafort to Steve Calk, October 7, 2016
 181                                                                           SDNY_239171 to SDNY_239172
         Email from Dennis Raico to Steve Calk, October 7, 2016
 182                                                                           SDNY_239173 to SDNY_239174
         Email from Steve Calk to Paul Manafort, October 7, 2016
         Email from Javier Ubarri to Jim Brennan, Jim Norini, and Thomas
 183*                                                                         SDNY_00279199 to SDNY_00279202
         Horn, October 7, 2016
 184                                                                          SDNY_00239178 to SDNY_00239179
         Email from Steve Calk to Jim Brennan, October 7, 2016
 185                                                                                  SDNY_00259426
         Email from Paul Manafort to Dennis Raico, October 7, 2016                                             Hearsay
 186                                                                                  SDNY_00239900
         Email from Paul Manafort to Steve Calk, October 8, 2016
                                                                                                               Rule 403
186-A*                                                                        SDNY_00241818 to SDNY_00241819
         Email from Steve Calk to Paul Manafort, October 8, 2016
186-B                                                                         SDNY_00241814 to SDNY_00241815
         Email from Steve Calk to Paul Manafort, October 11, 2016
         Email from Dennis Raico to Thomas Horn and Jim Brennan with
 187*                                                                         SDNY_00271380 to SDNY_00271382
         attachment, October 11, 2016
         Email from Thomas Horn to Dennis Raico and Jim Brennan,
 188                                                                          SDNY_00259968 to SDNY_00259970
         October 11, 2016
         Email from Steve Calk to Paul Manafort with attachment, October
 189                                                                          SDNY_00239198 to SDNY_00239204
         12, 2016
 190                                                                          SDNY_00239205 to SDNY_00239206
         Email from Paul Manafort to Steve Calk, October 12, 2016
         Email from Thomas Horn to Dennis Raico and Jim Brennan,
 191                                                                          SDNY_00260185 to SDNY_00260186
         October 12, 2016
         Email from Dennis Raico to Thomas Horn and Jim Brennan with
 192*                                                                         SDNY_00271458 to SDNY_00271462
         attachments, October 13, 2016
 193                                                                          SDNY_00239207 to SDNY_00239209
         Email from Kellie Kennedy to Steve Calk, October 12, 2016
                  Case 1:19-cr-00366-LGS Document 184-1 Filed 05/06/21 Page 4 of 13
194                                                                        SDNY_00260372 to SDNY_00260373
       Email from John Day to Dennis Raico, October 13, 2016                                                Hearsay


195*   Email from Jeff Yohai to Dennis Raico, Felix@nulinefunding.com,     SDNY_00260382 to SDNY_00260385
       bbaldinger@baldingerlaw.com, and alan@marinw.com with
       attachments, October 13, 2016
       Email from Steve Calk to Paul Manafort with attachments, October
196                                                                        SDNY_00239214 to SDNY_00239232
       13, 2016
197                                                                        SDNY_00239235 to SDNY_00239237
       Email from Steve Calk to Javier Ubarri, October 13, 2016

198*   Email from Bruce Baldinger to Paul Manafort, Jeff Yohai, and        SDNY_00261268 to SDNY_00261274
       Dennis Raico with attachments, October 14, 2016

199*   Email from Bruce Baldinger to Edward Heim, Dennis Raico, and        SDNY_00261527 to SDNY_00261536
       szidell@wrslawyers.com with attachments, October 14, 2016

200    Email from Steve Calk to Jim Brennan, Javier Ubarri, Jim Norini,    SDNY_00239238 to SDNY_00239239
       Angela Shelton, Thomas Horn, and Dennis Raico, October 19, 2016
       Email from Jim Brennan to Denins Raico and Thomas Horn,
201                                                                                SDNY_00262356
       October 19, 2016
       Email from Javier Ubarri to Steve Calk with attachment, October
202                                                                        SDNY_00239240 to SDNY_00239243
       19, 2016
203                                                                                SDNY_00239244
       Email from Javier Ubarri to Steve Calk, October 20, 2016
       Email from Dennis Raico to Paul Manafort and Dennis Raico,
204*                                                                       SDNY_00271634 to SDNY_00271635
       October 20, 2016
       Email from Jeff Yohai to Dennis Raico and Felix Katz, October 20,
205*                                                                       SDNY_00262401 to SDNY_00262402   Hearsay
       2016
       Email from Dennis Raico to Javier Ubarri and Jim Brennan,
206                                                                        SDNY_00262434 to SDNY_00262435
       October 21, 2016
       Email from Paul Manafort to Dennis Raico with attachment,
207*                                                                       SDNY_00262615 to SDNY_00262617
       October 21, 2016
       Email from Dennis Raico to Elizabeth Cholakis with attachment,
208                                                                        SDNY_00271688 to SDNY_00271690
       October 21, 2016
       Email from Ann DiCola to Dennis Raico and Darin Judis, October
209                                                                        SDNY_00262702 to SDNY_00262704   Hearsay
       25, 2016
       Email from Dennis Raico to Vanessa Bartholomew with
210*                                                                       SDNY_00271777 to SDNY_00271787
       attachments, October 26, 2016
211                                                                        SDNY_00262790 to SDNY_00262792
       Email from Paul Manafort to Dennis Raico, October 26, 2016
       Email from Vanessa Bartholomew to Dennis Raico with attachment,
212                                                                        SDNY_00264231 to SDNY_00264236
       October 28, 2016
213                                                                        SDNY_00241768 to SDNY_00241769
       Email from Steve Calk to Dennis Raico, October 29, 2016
214*                                                                               SDNY_00241767
       Email from Steve Calk to Paul Manafort, October 29, 2016
       Email from Dennis Raico to Paul Manafort, Steve Calk, and Bruce
215                                                                        SDNY_00239907 to SDNY_00239909
       Baldinger, October 31, 2016
       Email from Dennis Raico to Vanessa Bartholomew, October 31,
216                                                                        SDNY_00272839 to SDNY_00272842
       2016
217                                                                        SDNY_00265229 to SDNY_00265236
       Email from Ann DiCola to Dennis Raico, November 1, 2016

218    Email from Amanda Sparks to Dennis Raico, Vanessa                   SDNY_00265266 to SDNY_00265271   Hearsay
       Bartholomew, and Erin Devaney, November 1, 2016

219    Email from Paul Manafort to Dennis Raico, Bruce Baldinger, Jeff     SDNY_00239255 to SDNY_239257
       Yohai, and Steve Calk, November 1, 2016
       Email from Dennis Raico to Nadlan Appraisals and Sam Heskel,
220*                                                                       SDNY_00273081 to SDNY_00273083
       November 4, 2016

       Email from Ann DiCola to Vanessa Bartholomew, Patricia Saenz,
221*                                                                       SDNY_00239919 to SDNY_00239928
       Amanda Sparks, Jolisa Garrett, Dennis Raico, Robert Jones, Darin
       Judis, and Steve Calk, November 11, 2016
222                                                                        SDNY_00273118 to SDNY_00273121
       Email from Dennis Raico to Sam Heskel, November 6, 2016
       Email from Dennis Raico to Robert Jones and Vanessa
223                                                                        SDNY_00252256 to SDNY_00252258   Hearsay
       Bartholomew, November 8, 2016


224*                                                                       SDNY_00273181 to SDNY_00273182
       Email from Dennis Raico to bbaldinger@baldingerlaw.com, Robert
       Wisnicki, Andrew Knoph, and Dennis Raico, November 8, 2016

225    Email from Dennis Raico to djudis@bofi.com, rmarquez@bofi.com,              SDNY_00256177
       Dennis Raico, and Ann DiCola, November 8, 2016
226                                                                        SDNY_00266557 to SDNY_00266558
       Email from Robert Wisnicki to Dennis Raico, November 9, 2016
                   Case 1:19-cr-00366-LGS Document 184-1 Filed 05/06/21 Page 5 of 13
        Email from Dennis Raico to bbaldinger@baldingerlaw.com,
227                                                                          SDNY_00273241 to SDNY_00273244            Hearsay
        Edward Heim, Andrew Knoph, and Robert Wisnicki, November 9,
        2016
228                                                                             TFSB0090558 to TFSB0090559
        Email from Kellie Kennedy to Steve Calk, November 9, 2016
        Email from Dennis Raico to Javier Ubarri and Steve Calk,
229                                                                                    SDNY_00239973
        November 10, 2016
230                                                                                    SDNY_00273268
        Email from Dennis Raico to Paul Manafort, November 10, 2016
        Email from Matthew MacDonald to Dennis Raico, Javier Ubarri,
230-A   Jim Brennan, Eric Buteyn, and Steve Calk with attachment,           TFSB_000000813 to TFSB_000000814
        November 11, 2016
        Email from Matthew MacDonald to Javier Ubarri, November 11,
231                                                                          SDNY_00277343 to SDNY_00277347
        2016
        Email from Matthew MacDonald to Javier Ubarri, November 10,
232*                                                                         SDNY_00266701 to SDNY_00266703
        2016
        Email from Jim Brennan to Eric Buteyn, Matthew MacDonald,
233     Ryan Galer, Javier Ubarri, and Dennis Raico with attachments,        SDNY_00266690 to SDNY_00266700
        November 10, 2016
        Email from Javier Ubarri to Dennis Raico and Steve Calk with
234                                                                          SDNY_00239974 to SDNY_00239978
        attachment, November 11, 2016
        Email from Dennis Raico to Paul Manafort, Steve Calk, and Bruce
235                                                                                    SDNY_00273341
        Baldinger, November 11, 2016
        Email from Steve Calk to Dennis Raico and Jim Brennan,
236                                                                          SDNY_00280426 to SDNY_00280427
        November 11, 2016
        Email from Dennis Raico to Paul Manafort,
237     bbaldinger@baldingerlaw.com, Steve Calk, and Dennis Raico with       SDNY_00273347 to SDNY_00273349
        attachment, November 11, 2016
        Email from Bruce Baldinger to Dennis Raico and Paul Manafort,
238*                                                                         SDNY_00266773 to SDNY_00266774
        November 11, 2016

239*    Email from Dennis Raico to Bruce Baldinger and Paul Manafort         SDNY_00266778 to SDNY_00266787
        with attachments, November 11, 2016
240                                                                             TFSB0090796 to TFSB0090798
        Email from Steve Calk to Bonnie Sinnock, November 12, 2016
        Email from Ryan McCarthy to Steve Calk with attachment,
241*                                                                            TFSB0086705 to TFSB0086708
        November 12, 2016

242*    Email from Paul Manafort to Dennis Raico, Bruce Baldinger, Steve     SDNY_00240122 to SDNY_00240124
        Calk, and Jeff Yohai with attachment, November 13, 2016
243*                                                                         SDNY_00239270 to SDNY_00239271
        Email from Steve Calk to Dennis Raico, November 13, 2016
        Email from Steve Calk to Paul Manafort with attachments,
244                                                                          SDNY_00240127 to SDNY_00240130
        November 14, 2016
245                                                                          SDNY_00241733 to SDNY_00241737
        Email from Steve Calk to Paul Manafort, November 14, 2016
246*                                                                                    TFSB0090803
        Email from wlross@wlross.com to Steve Calk, November 14, 2016
        Email from Steven Calk to steven@donaldtrump.com, November
247*                                                                                    TFSB0090804
        14, 2016
                                                                             SDNY_00241743 to SDNY_00241746
248     Email from Steve Calk to Jim Brennan, Javier Ubarri, and Dennis
                                                                            (Bates numbers in non-consecutive order)
        Raico with attachment, November 14, 2016

249     Email from Jim Brennan to Robert Wisnicki, Dennis Raico, Angela      SDNY_00266812 to SDNY_00266816
        Shelton, and Thomas Horn with attachment, November 14, 2016
        Email from Dennis Raico to Thomas Horn and Jim Brennan,
250*                                                                                   SDNY_00266864
        November 14, 2016
251*                                                                                   SDNY_00241724
        Email from Steve Calk to Paul Manafort, November 15, 2016
        Email from Dennis Raico to Sam Heskel and Nadlan Appraisals,
252                                                                                    SDNY_00273391
        November 15, 2016

253*    Email from Ann DiCola to Dennis Raico, Darin Judis, and Vanessa      SDNY_00267181 to SDNY_00267183
        Bartholomew, November 16, 2016
        Email from Steve Calk to Paul Manafort with attachments,             SDNY_00241718 to SDNY_00241723
254
        November 16, 2016                                                   (Bates numbers in non-consecutive order)
        Email notification regarding message delivered from Steve Calk to
255*                                                                         SDNY_00240170 to SDNY_00240171
        Paul Manafort, November 16, 2016
256                                                                          SDNY_00240177 to SDNY_00240180
        Email from Dennis Raico to Steve Calk, November 16, 2016
257                                                                          SDNY_00239291 to SDNY_00239294
        Email from Steve Calk to Dennis Raico, November 18, 2016
258*                                                                         SDNY_00273555 to SDNY_00273558
        Email from Dennis Raico to Jeff Yohai, November 18, 2016

        Email from Jim Brennan to Edward Heim, Dennis Raico,
259*                                                                         SDNY_00267794 to SDNY_00267795
        bbaldinger@baldingerlaw.com, Charles Brigante, Melissa Tousley,
        and Stacey Paglia-Marrero, November 18, 2016
        Email from Dennis Raico to Cody Weinberg and Sam Heskel,
260                                                                          SDNY_00273559 to SDNY_00273563
        November 18, 2016
                   Case 1:19-cr-00366-LGS Document SDNY_00241697
                                                   184-1 Filed
        Email from Steve Calk to Paul Manafort with attachments,      05/06/21 Page 6 of 13
                                                                 to SDNY_00241703
261
        November 19, 2016                                                   (Bates numbers in non-consecutive order)
        Email notification regarding message delivered from Steve Calk to
262*                                                                         SDNY_00240190 to SDNY_00240191
        Paul Manafort, November 19, 2016
263                                                                          SDNY_00273587 to SDNY_00273589
        Email from Dennis Raico to Paul Manafort, November 20, 2016

264     Email from John Day to Dennis Raico, Scott Sawyer, Jeff Yohai,       SDNY_00267822 to SDNY_00267824
        and Keren Kogan, November 21, 2016
        Email from Dennis Raico to Vanessa Bartholomew and Ann
265*                                                                         SDNY_00273606 to SDNY_00273612
        DiCola, November 21, 2016
        Email from Steve Calk to Paul Manafort with attachment,              SDNY_00241691 to SDNY_00241690
266
        November 25, 2016                                                      (Bates numbers in reverse order)
        Email notification regarding message delivered from Steve Calk to
267*                                                                         SDNY_00240197 to SDNY_00240198
        Paul Manafort, November 25, 2016
268                                                                                    SDNY_00240199
        Email from Paul Manafort to Steve Calk, November 25, 2016
        Email from Steve Calk to George Gilmore with native attachments,
269                                                                             TFSB0087353 to TFSB0087354
        November 27, 2016
        Attachment A to GX 269
        Attachment B to GX 269
        Attachment C to GX 269

270     Email from Dennis Raico to bbaldinger@baldingerlaw.com, Paul         SDNY_00273708 to SDNY_00273709
        Manafort, and Jeff Yohai, November 28, 2016

271     Email from Dennis Raico to bbaldinger@baldingerlaw.com, Paul        SDNY_00256331 and SDNY_00256332
        Manafort, and Jeff Yohai, November 28, 2016
        Email from Paul Manafort to Dennis Raico and Steve Calk,
272                                                                                    SDNY_00240209
        November 30, 2016
        Email from Dennis Raico to Amanda Sparks and Vanessa
273                                                                          SDNY_00273813 to SDNY_00273816            Hearsay
        Bartholomew, December 1, 2016
        Email from Jim Mattis to Dell Dailey, Steve Calk, and Sally
274*                                                                            TFSB0086859 to TFSB0086860
        Donnelly, December 2, 2016
275*                                                                                    TFSB0090898
        Email from Jim Mattis to Steve Calk, December 4, 2016
276                                                                          SDNY_00268508 to SDNY_00268509
        Email from Paul Manafort to Dennis Raico, December 3, 2016
        Email from Dennis Raico to Vanessa Bartholomew and Amanda
277                                                                          SDNY_00273883 to SDNY_00273885            Hearsay
        Sparks, December 6, 2016
278                                                                          SDNY_00241677 to SDNY_00241680
        Email from Steve Calk to Paul Manafort, December 7, 2016
279                                                                          SDNY_00241672 to SDNY_00241674
        Email from Steve Calk to Dennis Raico, December 7, 2016
        Email from Paul Manafort to Dennis Raico, Steve Calk, Bruce
280     Baldinger, Felix Katz, and Alan Fetzer with attachments, December    SDNY_00240239 to SDNY_00240250
        7, 2016
        Email from Steve Calk to Paul Manafort, Dennis Raico, and Steve
281                                                                                    SDNY_00241671
        Calk, December 7, 2016
282                                                                          SDNY_00241669 to SDNY_00241670
        Email from Steve Calk to Dennis Raico, December 8, 2016

283     Email from Steve Calk to greg.garrabrants@bofifederalbank.com,                 SDNY_00241668
        December 8, 2016
284                                                                          SDNY_00273980 to SDNY_00273982
        Email from Dennis Raico to Elizabeth Cholakis, December 9, 2016

285     Email from James Brennan to jubarri@tfsbcuca01.cbc.local with        SDNY_00280271 to SDNY_00280272            Hearsay
        native attachment, December 9, 2016
        Attachment A to GX 285
        Email from Jim Brennan to Dennis Raico with attachment,
286                                                                          SDNY_00280290 to SDNY_00280293
        December 9, 2016
287*    Calendar invite for event December 12, 2016                          SDNY_00239872 to SDNY_00239873
        Email from Steve Calk to steve@arc-ent.com with attachments,
288*                                                                            TFSB0087422 to TFSB0087427
        December 14, 2016
289                                                                          SDNY_00269100 to SDNY_00269101
        Email from Jim Brennan to Dennis Raico, December 14, 2016
        Email from Steve Calk to Chuck Smith, Javier Ubarri, and John
290                                                                          SDNY_00239537 to SDNY_00239538
        Calk, December 16, 2016
291*                                                                         SDNY_00239542 to SDNY_00239545
        Email from Steve Calk to Javier Ubarri, December 17, 2016
291-A                                                                           TFSB0087432 to TFSB0087457
        Email from Steve Calk to Richard Porter, December 19, 2016
        Email from Steve Calk to Chuck Smith, Javier Ubarri, and John
292*                                                                                   SDNY_00239558
        Calk, December 20, 2016
        Email from Steve Calk to Chuck Smith, Javier Ubarri, and John
293                                                                          SDNY_00239559 to SDNY_00239561
        Calk, December 20, 2016

294*    Email from Dennis Raico to Paul Manafort, Bruce Baldinger, Steve     SDNY_00256494 to SDNY_00256552
        Calk, and Dennis Raico with attachments, December 21, 2016
        Email from Steve Calk to Bruce Baldinger, Dennis Raico, and Paul
295                                                                          SDNY_00239562 to SDNY_00239563
        Manafort, December 21, 2016
                    Case 1:19-cr-00366-LGS Document 184-1 Filed 05/06/21 Page 7 of 13
 296     Email from Javier Ubarri to Jim Norini, Jim Brennan, and Steve                 SDNY_00280094
         Calk with attachment, December 22, 2016

 297     Email from Dennis Raico to Paul Manafort, Bruce Baldinger, and       SDNY_00274202 to SDNY_00274206
         Steve Calk with attachment, December 22, 2016
 298                                                                          SDNY_00241566 to SDNY_00241567
         Email from Steve Calk to Dennis Raico, December 22, 2016
         Email from Steve Calk to Paul Manafort, Javier Ubarri, Jim
 299     Brennan, Dennis Raico, and Steve Calk with attachment, December      SDNY_00240571 to SDNY_00240574
         22, 2016

 300     Email from Steve Calk to Paul Manafort, Dennis Raico, Javier         SDNY_00239853 to SDNY_00239856
         Ubarri, and Steve Calk with attachment, December 23, 2016

300-A    Email from Steve Calk to Dennis Raico, Bruce Baldinger, and Paul     SDNY_00240578 to SDNY_00240580
         Manafort, with attachment, February 23, 2016
         Email notification regarding message delivered from Steve Calk to
 301*    Paul Manafort, Dennis Raico, Javier Ubarri, and Steve Calk,          SDNY_00240590 to SDNY_00240591
         December 23, 2016
 302                                                                          SDNY_00241545 to SDNY_00241546
         Email from Steve Calk to Paul Manafort, December 23, 2016
 303*                                                                         SDNY_00241559 to SDNY_00241561
         Email from Steve Calk to Paul Manafort, December 23, 2016
 304     Calendar event December 23, 2016                                               SDNY_00241349
 305                                                                          SDNY_00269360 to SDNY_00269362
         Email from Steve Calk to Dennis Raico, December 23, 2016
         Email from Jim Brennan to Angela Shelton, Rafael Nieves, and
 306                                                                          SDNY_00242545 to SDNY_00242547
         Thomas Horn, December 23, 2016
         Email from Steve Calk to Paul Manafort and Steve Calk, December
 307                                                                          SDNY_00240607 to SDNY_00240608
         23, 2016
 308                                                                          SDNY_00240612 to SDNY_00240613
         Email from Jackie Katz to Steve Calk, December 23, 2016
         Email from Dennis Raico to Thomas Horn and Jim Brennan,
 309                                                                                    SDNY_00274370
         December 28, 2016
         Email from Dennis Raico to Thomas Horn and Jim Brennan,
 310                                                                          SDNY_00242629 to SDNY_00242631
         December 27, 2016
         Email from Thomas Horn to Dennis Raico and Jim Brennan,
 311                                                                          SDNY_00243619 to SDNY_00243625
         December 30, 2016
         Email from Jim Brennan to Robert Wisnicki and Dennis Raico,
 312                                                                          SDNY_00283062 to SDNY_00283064
         January 3, 2017
 313*                                                                         SDNY_00274411 to SDNY_00274412
         Email from Dennis Raico to Jim Brennan, January 3, 2017
         Email from Steve Calk to Anthony Scaramucci with attachment,
 314                                                                             TFSB0089160 to TFSB0089161
         January 3, 2017
         Email from Darin Judis to Dennis Raico and Ann DiCola, January
 315                                                                          SDNY_00269669 to SDNY_00269670            Hearsay
         4, 2017

 316     Email from Heather Washkuhn to Dennis Raico and Cindy Laporta        SDNY_00269686 to SDNY_00269699
         with attachment, January 4, 2017
         Email from Jim Brennan to Dennis Raico and Robert WisnickI,
316-A*                                                                                  SDNY_00283116
         January 4, 2017

 317     Email from Jim Brennan to John Calk, Steve Calk, Javier Ubarri,      SDNY_00253443 to SDNY_00253467
         Jim Norini, and Dan Semenak with attachments, January 5, 2017
 318                                                                          SDNY_00280361 to SDNY_00280363
         Email from Jim Brennan to Steve Calk, January 6, 2017
 319                                                                                    SDNY_00241524
         Email from Steve Calk to Javier Ubarri, January 6, 2017
 320                                                                                    SDNY_00240726
         Email from Anthony Scaramucci to Steve Calk, January 9, 2017
         Email from Campbell Burr to Steve Calk with attachment, January
 321                                                                          SDNY_00240727 to SDNY_00240729
         9, 2017
         Email from Steve Calk to Campbell Burr with attachments, January     SDNY_00241513 to SDNY_00241518
 322
         9, 2017                                                             (Bates numbers in non-consecutive order)
         Email from Steve Calk to Campbell Burr with attachments, January     SDNY_00241505 to SDNY_00241512
 323
         10, 2017                                                            (Bates numbers in non-consecutive order)
         Email from Steve Calk to Paul Manafort with attachment, January      SDNY_00241504 to SDNY_00241503
 324
         10, 2017                                                                (Bates numbers in reverse order)
 325                                                                          SDNY_00269850 to SDNY_00269851
         Email from Robert Wisnicki to Dennis Raico, January 10, 2017
         Email from Jim Brennan to Robert Wisnicki and Dennis Raico,
 326                                                                          SDNY_00269853 to SDNY_00269854            Hearsay
         January 10, 2017
         Email from Robert Wisnicki to Jim Brennan and Dennis Raico with
 327                                                                          SDNY_00269855 to SDNY_00269858
         attachment, January 10, 2017
 328*                                                                                    TFSB0087688
         Email from Martin Silverstein to Steve Calk, January 10, 2017
         Email from Steve Calk to igreenstein@graquantum.com, January
 329*                                                                                    TFSB0087687
         10, 2017
 330                                                                                     TFSB0089164
         Email from Steve Calk to john@johnsweeney.org, January 10, 2017
                    Case 1:19-cr-00366-LGS Document 184-1 Filed 05/06/21 Page 8 of 13
 331*                                                                               SDNY_00241491 to SDNY_00241493
         Email from Steve Calk to Sally Donnelly, January 13, 2017
 332                                                                                SDNY_00241469 to SDNY_00241470
         Email from Steve Calk to Anthony Scaramucci, January 16, 2017
         Email from Michael Sasso to Dennis Raico,
 333*    bbaldinger@baldingerlaw.com, Robert Wisnicki, and Vanessa                  SDNY_00270000 to SDNY_00270005
         Robins with attachment, January 17, 2017

333-A*                                                                                 TFSB0089177 to TFSB0089178
         Email from Steve Calk to Sally Donnelly, January 23, 2017
 334                                                                                   TFSB0090484 to TFSB0090493
         Email from Steve Calk to Nicholas Bugajski, January 31, 2017
 335                                                                                           TFSB0090494
         Email from Steve Calk to Martin Silverstein, February 4, 2017
 336                                                                                           TFSB0089213
         Email from Steve Calk to John Sweeney, February 4, 2017
 337                                                                                   TFSB0090508 to TFSB0090509
         Email from Steve Calk to Ira Greenstein, February 6, 2017
 338*                                                                                  TFSB0087859 to TFSB0087867
         Email from Steve Calk to Matthew Braman, February 7, 2017

 339*    Email from Kevin Sweeney to Steve Calk, Sally Donnelly, and Tony           SDNY_00176707 to SDNY_00176709
         DeMartino, February 11, 2017
 340*                                                                               SDNY_00239813 to SDNY_00239816
         Email from Steve Calk to Javier Ubarri, February 25, 2017
 341                                                                                SDNY_00240973 to SDNY_00240975
         Email from Javier Ubarri to Steve Calk, February 25, 2017
 342*                                                                               SDNY_00239817 to SDNY_00239818
         Email from Steve Calk to Bill Mrowczynski, February 28, 2017
 343*                                                                                         SDNY_00241436
         Email from Steve to sms45@who.eop.gov, March 6, 2017
         Email from Jim Brennan to Thomas Horn and Dennis Raico with
 344*                                                                               SDNY_00243556 to SDNY_00243557            Hearsay
         attachment, March 22, 2017
         Email from Jim Brennan to Steve Calk with native attachment,
 345                                                                                SDNY_00241107 to SDNY_00241108
         March 23, 2017
         Attachment A to GX 345
         Email from Jason Maloni to Steve Calk with attachment, March 29,           SDNY_00241934 to SDNY_00241938            Relevance; Rule 403; Hearsay
 346*
         2017                                                                      (Bates numbers in non-consecutive order)
                                                                                    SDNY_00241919 to SDNY_00241922
 347     Email from Javier Ubarri to Steve Calk, Jim Norini, and Ryan                                                         Rule 403; Hearsay
                                                                                   (Bates numbers in non-consecutive order)
         Murphy with attachment, March 29, 2017
 348                                                                                          SDNY_00241916
         Email from Jim Norini to Steve Calk, March 29, 2017

 349     Email from Steve Calk to Jack Gongaware, Jim Norini, Kevin                    TFSB0016737 to TFSB0016738
         Peters, and Nancy Chelovich, March 31, 2017
         Email from Thomas Horn to Jim Brennan and Dennis Raico with
 350*                                                                                  TFSB0015954 to TFSB0015977             Relevance
         attachment, April 27, 2017
         Email from Steve Calk to steve@arc-ent.com and Steve Calk with
 351*                                                                                  TFSB0089941 to TFSB0089944
         attachments, May 5, 2017
         Email from Steve Calk to Kevin Sweeney and Sally Donnelly, May
 352*                                                                                  TFSB0090552 to TFSB0090553
         8, 2017

 353*    Email from Catherine Aguirre to Javier Ubarri, Jim Norini, and Jim            TFSB0066932 to TFSB0066956             Relevance; Rule 403
         Brennan with attachments, July 12, 2017
         Email from Catherine Aguirre to Javier Ubarri and Jim Brennan,
 354*                                                                                  TFSB0068234 to TFSB0068235             Relevance; Rule 403
         July 16, 2017
 355*                                                                                  TFSB0068250 to TFSB0068251             Relevance; Rule 403
         Email from Catherine Aguirre to Javier Ubarri, July 19, 2017
         Email from Javier Ubarri to Jim Brennan and Jim Norini, August
 356*                                                                                  TFSB0067069 to TFSB0067071             Relevance; Rule 403
         14, 2017
         Email from Alan Lorr to Jim Brennan with attachment, September
 357*                                                                                  TFSB0066080 to TFSB0066082             Relevance; Rule 403
         19, 2017
         Email from Steve Calk to colbbb@gmail.com, Charles & Emily
         Everson Gleichenhaus, John Calk, Javier Ubarri, Jim Norini, Steve
 358*                                                                                  TFSB0070051 to TFSB0070053             Relevance; Rule 403
         Morrissette, Bill Markel, and kaharrisjr@gmail.com, November 30,
         2017
 359                                                                                   TFSB0064810 to TFSB0064811             Relevance; Rule 403; Hearsay
         Email from Jim Brennan to Catherine Aguirre, December 13, 2017

360-A    Email from MAGA Messaging to Jason Miller, Rick Gates, Hope                SDNY_00239060 to SDNY_00239062
         Hicks, and Bryan Lanza, August 16, 2016

360-B    Email from MAGA Messaging to Rick Gates, Jason Miller, Bryan               SDNY_00239069 to SDNY_00239071
         Lanza, and Hope Hicks, August 18, 2016

360-C    Email from MAGA Messaging to Rick Gates, Jason Miller, Bryan               SDNY_00239076 to SDNY_00239077
         Lanza, and Hope Hicks, August 19, 2016
         Email from MAGA Messaging to Hope Hicks, Jason Miller, and
360-D                                                                               SDNY_00239080 to SDNY_00239081
         Bryan Lanza, August 19, 2016
                                                                               450 Series
                                                               TFSB Policies and Organizational Documents
 GX
                    Case 1:19-cr-00366-LGS
                            Description
                                           Document 184-1    Filed 05/06/21 Page 9 of Defense
                                                       Bates Range/Identifier
                                                                                      13 Objections
                                                                                                                      Relevance; 403; Hearsay (The parties are
                                                                                       TFSB0091071 to TFSB0091074
451-A    TFSB Minutes of Board of Directors Meeting, June 23, 2011                                                    continuing to discuss the admissibility of
                                                                                                                      these records and are working to agree on
                                                                                       TFSB0091034 to TFSB0091039
451-B    TFSB Minutes of Board of Directors Meeting, September 20, 2012                                               redacted versions that may be submitted
                                                                                                                      without objection at trial.)
                                                                                       TFSB0091040 to TFSB0091046
451-C    TFSB Minutes of Board of Directors Meeting, August 27, 2013
                                                                                       TFSB0091047 to TFSB0091050
451-D    TFSB Minutes of Board of Directors Meeting, May 22, 2014
         TFSB Bank Bribery Act/Conflicts of Interest Policy, Re-Approved
                                                                                       TFSB0091023 to TFSB0091028
451-E    May 21, 2015
                                                                                                                      Relevance; 403; Hearsay (The parties are
                                                                                                                      continuing to discuss the admissibility of
                                                                                       TFSB0091051 to TFSB0091055     these records and are working to agree on
                                                                                                                      redacted versions that may be submitted
451-F    TFSB Minutes of Board of Directors Meeting, May 21, 2015                                                     without objection at trial.)

         TFSB Bank Bribery Act/Conflicts of Interest Policy, Re-Approved            SDNY_00231795 to SDNY_00231800
451-G    April 21, 2016 (with tracked changes)
         TFSB Bank Bribery Act/Conflicts of Interest Policy, Re-Approved
                                                                                       TFSB0091017 to TFSB0091022
451-H    April 21, 2016
                                                                                                                      Relevance; 403; Hearsay (The parties are
                                                                                       TFSB0053451 to TFSB0053454
451-I    TFSB Minutes of Board of Directors Meeting, April 21, 2016                                                   continuing to discuss the admissibility of
                                                                                                                      these records and are working to agree on
                                                                                       TFSB0053479 to TFSB0053482
451-J*   TFSB Minutes of Board of Directors Meeting, November 16, 2016                                                redacted versions that may be submitted
                                                                                                                      without objection at trial.)
                                                                                       TFSB0053483 to TFSB0053486
451-K*   TFSB Minutes of Board of Directors Meeting, December 14, 2016
                                                                                       TFSB0053616 to TFSB0053619
451-L*   TFSB Minutes of Board of Directors Meeting, January 26, 2017
                                                                                       TFSB0053620 to TFSB0053623
451-M*   TFSB Minutes of Board of Directors Meeting, February 16, 2017
                                                                                       TFSB0053624 to TFSB0053627
451-N*   TFSB Minutes of Board of Directors Meeting, March 16, 2017
                                                                                    SDNY_00230293 to SDNY_00230394
451-O*   TFSB Minutes of Board of Directors Meeting, April 27, 2017
                                                                                       TFSB0053628 to TFSB0053631
451-P*   TFSB Minutes of Board of Directors Meeting, May 25, 2017
                                                                                    SDNY_00230395 to SDNY_00230585
451-Q*   TFSB Minutes of Board of Directors Meeting, June 15, 2017
         TFSB Bank Bribery Act/Conflicts of Interest Policy, Re-Approved
                                                                                       TFSB0091005 to TFSB0091008
451-R    August 24, 2017
                                                                                                                      Relevance; 403; Hearsay (The parties are
                                                                                                                      continuing to discuss the admissibility of
                                                                                       TFSB0091059 to TFSB0091062     these records and are working to agree on
                                                                                                                      redacted versions that may be submitted
451-S*   TFSB Minutes of Board of Directors Meeting, August 24, 2017                                                  without objection at trial.)
         TFSB Bank Bribery Act/Conflicts of Interest Policy, Re-Approved
                                                                                       TFSB0091011 to TFSB0091016
451-T    August 16, 2018
                                                                                       TFSB0000050 to TFSB0000095
 452*    TFSB Loan Policy, Board Approved January 13, 2016
                                                                                    SDNY_00189364 to SDNY_00189365
 453     TFSB Consent of the Sole Stockholder, Effective April 6, 2016
 454     NBHI Capital Structure                                                             SDNY_00189367
                                                                                            SDNY_00189366
 455     Federal Savings Bank Employee Roster, April 20, 2017
                                                                              500 Series
                                                                              Calk iPhone
 GX                                 Description                                            Bates Range/Identifier                Defense Objections
501*     Calk iPhone extraction report                                               SDNY_00004577 to SDNY_00004627   Hearsay; Relevance; Rule 403
501-1    Page from Calk iPhone extraction report                                              SDNY_00004623           Objection to Redacted Version
501-2    Page from Calk iPhone extraction report                                              SDNY_00004592
501-3    Page from Calk iPhone extraction report                                              SDNY_00004585           Relevance; Rule 403; Rule of Completenes
                                                                               550 Series
                                                                           Manafort Documents
 GX                                  Description                                           Bates Range/Identifier                 Defense Objections
         Email from Steve Calk to Paul Manafort with native attachments,
 551                                                                                SDNY_00129869 to SDNY_00129872
         August 4, 2016
         Attachment A to GX 551
         Attachment B to GX 551
 552     Calendar invite for event August 4, 2016                                           SDNY_00101270             Relevance
 553*                                                                                       SDNY_00130622
         Email from Paul Manafort to Jeff Yohai, October 26, 2016                                                     Relevance, Hearsay
         Email from Arthur Culvahouse Jr. to Paul Manafort with
 554*                                                                               SDNY_00146985 to SDNY_00146987
         attachment, November 10, 2016
         Email from Paul Manafort to Jared Kushner with attachment,
 555*                                                                               SDNY_00147023 to SDNY_00147025
         November 15, 2016
         Email from Steve Calk to Paul Manafort with native attachments,
 556*                                                                               SDNY_00147004 to SDNY_00147007
         November 14, 2016
         Attachment A to GX 556
         Attachment B to GX 556
         Email from Steve Calk to Paul Manafort with native attachments,
 557*                                                                               SDNY_00147027 to SDNY_00147032
         November 16, 2016
                 Case 1:19-cr-00366-LGS Document 184-1 Filed 05/06/21 Page 10 of 13
        Attachment A to GX 557
        Attachment B to GX 557
        Email from Steve Calk to Paul Manafort with native attachments,
558*                                                                                SDNY_00147053 to SDNY_00147059
        November 19, 2016
        Attachment A to GX 558
        Attachment B to GX 558
        Attachment C to GX 558
        Email from Steve Calk to Paul Manafort with native attachement,
559*                                                                                SDNY_00147068 to SDNY_00147069
        November 25, 2016
        Attachment A to GX 559
560*                                                                                           SDNY_00147070
        Email from Jared Kushner to Paul Manafort, November 27, 2016
561*                                                                                SDNY_00147071 to SDNY_00147072
        Email from Jared Kushner to Paul Manafort, November 28, 2016
        Email from Paul Manafort to Jared Kushner with attachments,
562                                                                                 SDNY_00147085 to SDNY_00147095
        November 30, 2016
        Email from Bruce Baldinger and Dennis Raico with attachment,
563*                                                                                SDNY_00130805 to SDNY_00130817
        December 2, 2016

564*    Email from Ben Herzog to Jeff Yohai, Jess Manafort, and Paul                SDNY_00107075 to SDNY_00107076            Relevance
        Manafort with attachment, December 5, 2016
        Email from Bruce Baldinger to Paul Manafort with attachment,
565*                                                                                SDNY_00107077 to SDNY_00107079            Relevance
        December 5, 2016
        Email from Paul Manafort to Rick Gates with attachment,
566                                                                                 SDNY_00139629 to SDNY_00139640
        December 23, 2016
567     Contact information for Anthony Scaramucci                                             SDNY_00102771
                                                                               600 Series
                                                                             PTT Documents
 GX                                Description                                               Bates Range/Identifier                       Defense Objections
601                                                                              TFA_CALK.0000321 to TFA_CALK.0000326         Authenticity
        Email from John Rader to Referrals, December 1, 2016
601-A                                                                            TFA_CALK.0000252 to TFA_CALK.0000315         Authenticity; Relevance; Rule 403
        PTT Wave 2 document, December 13, 2016
602                                                                              TFA_CALK.0000001 to TFA_CALK.0000008         Authenticity; Relevance; Rule 403
        PTT spreadsheet entry
                                                                                               SDNY_00197575                  Authenticity
603*    Anthony Scaramucci texts with Paul Manafort, December 15, 2016
                                                                            SDNY_00197562 to SDNY_00197561, SDNY_00197558
604     Anthony Scaramucci texts with Stephen Calk, January 6 through                                                     Authenticity
                                                                                 (Bates numbers in non-consecutive order)
        January 9, 2017
                                                                            SDNY_00197555 to SDNY_00197556, SDNY_00197559
605     Anthony Scaramucci texts with Stephen Calk, January 9 through                                                     Authenticity
                                                                                 (Bates numbers in non-consecutive order)
        January 10, 2017
        Anthony Scaramucci texts with Stephen Calk, Feburary 3 through               SDNY_00197552, SDNY_00197554
 606                                                                                                                          Authenticity
        March 14, 2017                                                             (Bates numbers in non-consecutive order)
        Anthony Scaramucci texts with Stephen Calk, March 14 through                SDNY_00197548 to SDNY_00197552
607                                                                                                                           Authenticity
        March 20, 2017                                                                 (Bates numbers in reverse order)
608                                                                              TFA_CALK.0000339 to TFA_CALK.0000395         Authenticity; Relevance; Rule 403
        Ticketing spreadsheet
        Anthony Scaramucci texts with Stephen Calk, December 30, 2016               SDNY_00041315 to SDNY_00041332
609                                                                                                                           Authenticity
        through March 20, 2017                                                     (Bates numbers in non-consecutive order)
        Anthony Scaramucci texts with Paul Manafort, November 15, 2016
610                                                                                 SDNY_00411051 to SDNY_00411054            Authenticity; Hearsay
        through December 27, 2016
        Anthony Scaramucci texts with Paul Manafort, November 15, 2016
611                                                                                 SDNY_00411279 to SDNY_00411281            Authenticity; Hearsay
        through December 26, 2016
                                                                               650 Series
                                                                            DJTFP Documents
 GX                               Description                                             Bates Range/Identifier                          Defense Objections
        Email from Paul Manafort to Jason Roys with attachment, July 27,
651                                                                               SCODOJ-00000465 to SCODOJ-00000469          Authenticity
        2016
        Email from Paul Manafort to Jason Roys with attachment, August 3,
652                                                                               SCODOJ-00000475 to SCODOJ-00000479          Authenticity
        2016
654*                                                                          DFTFP_SCO_00007222 to DFTFP_SCO_00007226        Authenticity; Relevance, Rule 403; Hearsay
        Email from Paul Manafort to Steven Mnuchin, August 5, 2016
                                                                              700 Series
                                                                            OCC Documents
 GX                              Description                                             Bates Range/Identifier                           Defense Objections
        OCC bulletin enclosing OCC Comptroller's Handbook chapter on
701*                                                                                           SDNY_00003868                  Relevance; Rule 403
        Insider Activities
702*    OCC Comptroller's Handbook chapter on Insider Activities                    SDNY_00004313 to SDNY_00004360            Relevance; Rule 403


703*                                                                                SDNY_00003835 to SDNY_00003867            Relevance; Rule 403
        Key Differences Between National Bank Regulatory Requirements
        and Federal Savings Association Regulatory Requirements
        OCC Comptroller's Handbook chapter on Commercial Real Estate
704*                                                                                SDNY_00004050 to SDNY_00004182            Relevance; Rule 403
        Lending
        OCC Comptroller's Handbook chapter on Corporate and Risk
705*                                                                                SDNY_00004183 to SDNY_00004312            Relevance; Rule 403
        Governance
        OCC Comptroller's Handbook on Rating Credit Risk, updated June
706*                                                                                SDNY_00299167 to SDNY_00299235            Relevance; Rule 403
        26, 2017
707*    OCC Director's Book                                                         SDNY_00004361 to SDNY_00004470            Relevance; Rule 403
                     Case 1:19-cr-00366-LGS Document 184-1 Filed 05/06/21 Page 11 of 13
 708*                                                                                   SDNY_00228581 to SDNY_00228585
           Asset Quality Review Sheet for borrower Summerbreeze LLC
           Email from Jack Gongaware to Kevin Peters and Nancy Chelovich,
 709*                                                                                   SDNY_00229469 to SDNY_00229472    Hearsay
           March 30, 2017
           Supervisory Concerns - Significant Events, last updated March 31,
 710*                                                                                   SDNY_00229485 to SDNY_00229491    Hearsay
           2017

 711*      Email from Catherine Aguirre to Nancy Chelovich, Ben Lemanski,               SDNY_00229451 to SDNY_00229457    Relevance; Rule 403; Hearsay
           Kevin Peters, and Jack Gongaware, April 13, 2017
           Email from Catherine Aguirre to Javier Ubarri and Jim Norini with
 712*                                                                                   SDNY_00229738 to SDNY_00229748    Relevance; Rule 403; Hearsay
           attachment, July 19, 2017
 713*                                                                                   SDNY_00231416 to SDNY_00231427    Relevance; Rule 403; Hearsay
           Asset Quality Review Sheet for borrower Paul J Manafort

 714*      Memo from Portfolio Manager Catherine Aguirre to The Federal                 SDNY_00231199 to SDNY_00231200    Relevance; Rule 403; Hearsay
           Savings Bank Official Bank File, January 2018
 715*      Analysis supporting Doubtful classification                                  SDNY_00231072 to SDNY_00231075    Relevance; Rule 403; Hearsay
 716*      Credit risk analysis worksheet                                               SDNY_00231428 to SDNY_00231439    Relevance; Rule 403; Hearsay
 717*                                                                                   SDNY_00231801 to SDNY_00231852    Relevance; Rule 403; Hearsay
           Report of Examination of TFSB as of September 30, 2017
 718*      CRE Loan Review Sheet, June 12, 2017                                                     SDNY_00229702         Relevance; Rule 403; Hearsay
                                                                                     800 Series
                                                                               Prior Loan Documents
  GX                                 Description                                                Bates Range/Identifier               Defense Objections
  801      Genesis Capital 377 Union Street loan documents                                   GCGJ0022615 to GCGJ0022908
           Email from Jim Brennan to Thomas Horn and Dennis Raico with
  802      attachment (MC Brooklyn Holdings operating agreement),                       SDNY_00242720 to SDNY_00242742
           December 28, 2016

  803      Genesis Capital 2401 Nottingham Avenue loan documents                           GCGJ0025909 to GCGJ0025989
  804      2401 Nottingham LLC operating agreement                                      SDNY_00189737 to SDNY_00189741
  805      Baylor Holding LLC operating agreement                                       SDNY_00190164 to SDNY_00190185
           Email from Yvonne Gruenberg to Bruce Baldinger, Donna Grissom,
  806      Shawn Bellau, Jeff Yohai, steven@cziklaw.com, and                               GCGJ0013861 to GCGJ0014008
           pmanafort@dmpint.com with attachments (Genesis Capital 779
  807      779 Stradella LLC operating agreement                                        SDNY_00194396 to SDNY_00194408
  808      Genesis Capital 1550 Blue Jay Way loan documents                                GCGJ0018931 to GCGJ0018988

  809      Genesis Capital 1550 Blue Jay Way LLC entity documents                          GCGJ0018847 to GCGJ0018860

  810      Genesis Capital 2521 Nottingham Avenue loan documents                           GCGJ0020855 to GCGJ0020907
  811      Mt Yohai LLC operating agreement                                             SDNY_00194241 to SDNY_00194247
           Email from Keren Kogan to jeff.y@marin-mgmt.com, John Day,
  812      Robert Wasmund, and Mitch Solow with attachments (Genesis                       GCGJ0008168 to GCGJ0008181
           Capital notices of default), July 1, 2016
                                                                                   850 Series
                                                                                Travel Documents
  GX                                  Description                                              Bates Range/Identifier                Defense Objections
  851      Steve Calk's Four Seasons NY bill, Janruary 9 through 10, 2017                         SDNY_00411275
           Steve Calk's Four Seasons NY signed, registration card, January 9
  852                                                                                             SDNY_00411276
           through 10, 2017
  853      American Airlines Records, January 9 through 10, 2017                         SDNY_00411534-SDNY_00411544
  854      Citibank Statement, February 3, 2017                                          SDNY_00411268-SDNY_00411272      Relevance; Rule 403
                                                                                   900 Series
                                                                                Phone Documents
  GX                                  Description                                             Bates Range/Identifier                  Defense Objections
                                                                                                                          Relevance (The defense is preserving a
                                                                                                                          relevance objection, as it does not know at
 901-1     AT&T records                                                                 SDNY_00006445 to SDNY_00006452
                                                                                                                          this stage which of the many phone calls
                                                                                                                          reflected in these records the government
 901-A-1   Excerpts from AT&T records                                                             SDNY_00011906           plans to introduce or the purpose for
901-A-2    Excerpts from AT&T records                                                             SDNY_00011935           which it plans to introduce them. Once
901-A-3    Excerpts from AT&T records                                                             SDNY_00011961           these matters become clear at trial, the
901-A-4    Excerpts from AT&T records                                                             SDNY_00011979           defense may withdraw its objection to
901-A-5    Excerpts from AT&T records                                                             SDNY_00011991           some or all of the records.)
901-A-6    Excerpts from AT&T records                                                             SDNY_00011992
901-A-7    Excerpts from AT&T records                                                             SDNY_00012005
901-A-8    Excerpts from AT&T records                                                             SDNY_00012017
901-A-9    Excerpts from AT&T records                                                             SDNY_00012030
901-A-10   Excerpts from AT&T records                                                             SDNY_00012039
901-A-11   Excerpts from AT&T records                                                             SDNY_00012051
901-A-12   Excerpts from AT&T records                                                             SDNY_00012055
901-A-13   Excerpts from AT&T records                                                             SDNY_00012063
901-A-14   Excerpts from AT&T records                                                             SDNY_00012067
901-A-15   Excerpts from AT&T records                                                             SDNY_00012072
901-A-16   Excerpts from AT&T records                                                             SDNY_00012073
901-A-17   Excerpts from AT&T records                                                             SDNY_00012108
901-A-18             Case 1:19-cr-00366-LGS Document 184-1 SDNY_00012112
           Excerpts from AT&T records                        Filed 05/06/21 Page 12 of 13
901-A-19   Excerpts from AT&T records                                                         SDNY_00012131
901-A-20   Excerpts from AT&T records                                                         SDNY_00012134
901-A-21   Excerpts from AT&T records                                                         SDNY_00012134
901-A-22   Excerpts from AT&T records                                                         SDNY_00012135
901-A-23   Excerpts from AT&T records                                                         SDNY_00012135
901-A-24   Excerpts from AT&T records                                                         SDNY_00012139
901-A-25   Excerpts from AT&T records                                                         SDNY_00012153
901-A-26   Excerpts from AT&T records                                                         SDNY_00012191
901-A-27   Excerpts from AT&T records                                                         SDNY_00012191
901-A-28   Excerpts from AT&T records                                                         SDNY_00012245
901-A-29   Excerpts from AT&T records                                                         SDNY_00012262
901-A-30   Excerpts from AT&T records                                                         SDNY_00012314
901-A-31   Excerpts from AT&T records                                                         SDNY_00012331
901-A-32   Excerpts from AT&T records                                                         SDNY_00012419
901-A-33   Excerpts from AT&T records                                                         SDNY_00012441
901-A-34   Excerpts from AT&T records                                                         SDNY_00012470
901-A-35   Excerpts from AT&T records                                                  SDNY_00012069 to SDNY_00012070
901-A-36   Excerpts from AT&T records                                                         SDNY_00012086
 901-2     AT&T records                                                                SDNY_00006453 to SDNY_00020972
 901-3     AT&T records                                                                       SDNY_00020973
 901-4     AT&T records                                                                SDNY_00020974 to SDNY_00022753
 901-5     AT&T records                                                                SDNY_00022754 to SDNY_00022804
  901-6    AT&T records                                                                       SDNY_00022805
 901-7     AT&T records                                                                SDNY_00022896 to SDNY_00023724
 901-8     AT&T records                                                                       SDNY_00023725
 901-9     AT&T records                                                                SDNY_00023726 to SDNY_00023734
   902     Netrix records                                                                     SDNY_00041217




 903-1     Verizon records                                                                      SDNY_00056125




 903-2     Verizon records                                                              SDNY_00056126-SDNY_00056474
 903-3     Verizon records                                                              SDNY_00056475-SDNY_00056822
 903-5     Verizon records                                                                      SDNY_00057853
 903-6     Verizon records                                                                      SDNY_00057854
 903-7     Verizon records                                                                      SDNY_00057855
 903-9     Verizon records                                                                      SDNY_00057857
 903-10    Verizon records                                                                      SDNY_00057858
 903-11    Verizon records                                                                      SDNY_00057859
 903-12    Verizon records                                                                      SDNY_00057860
 903-15    Verizon records                                                                      SDNY_00057863
 903-16    Verizon records                                                                      SDNY_00057864
 903-19    Verizon records                                                                      SDNY_00057867
 903-20    Verizon records                                                                      SDNY_00057868
 903-21    Verizon records                                                                      SDNY_00057869
 903-22    Verizon records                                                                      SDNY_00057870
 903-23    Verizon records                                                                      SDNY_00057871
 903-26    Verizon records                                                                      SDNY_00057874
 903-27    Verizon records                                                                      SDNY_00057875
                                                                                  950 Series
                                                                               Gates Documents
  GX                                  Description                                             Bates Range/Identifier                Defense Objections
  951                                                                                          SCODOJ-00001935
           Email from Paul Manafort to Rick Gates, August 4, 2016
           Email from Steve Calk to Kellie Kennedy,
  952      dspoleti@donaldtrump.com, and rgates@donaldtrump.com, August              SCODOJ-00001972 to SCODOJ-00001973
           9, 2016
           Email from Lisa Wagner to Rick Gates, Sarah Robinson, and Eli
  953                                                                                SCODOJ-00001990 to SCODOJ-00001991   Relevance; Hearsay
           Miller, September 28, 2016
  954                                                                                          SCODOJ-00001988            Relevance; Rule 403
           Email from Paul Manafort to Rick Gates, September 20, 2016
  955                                                                                SCODOJ-00002020 to SCODOJ-00002022   Hearsay
           Email from Paul Manafort to Rick Gates, October 12, 2016
  956                                                                                SCODOJ-00002017 to SCODOJ-00002019   Hearsay
           Email from Rick Gates to Paul Manafort, October 12, 2016
  957                                                                                          SCODOJ-00002027            Relevance; Rule 403; Hearsay
           Email from Paul Manafort to Rick Gates, November 20, 2016
  958                                                                                          SCODOJ-00002028            Hearsay
           Email from Paul Manafort to Rick Gates, November 24, 2016

  959      Email from Jason Miller to Team Press, Steven Miller, Rick Gates,         SCODOJ-00001931 to SCODOJ-00001934   Hearsay
           and Bryan Lanza with attachment, August 4, 2016
                                                                                  1000 Series
                                                                           Public Source Documents
  GX                                  Description                                             Bates Range/Identifier                Defense Objections

 1001      "Donald Trump Hires Paul Manafort to Lead Delegate Effort," New             SDNY_00347559 to SDNY_00347561     Relevance; Rule 403; Hearsay
           York Times, March 28, 2016
                    Case 1:19-cr-00366-LGS Document 184-1 Filed 05/06/21 Page 13 of 13

 1002     "Trump Aide Paul Manafort Promoted to Campaign Chairman and                            SDNY_00078806          Relevance; Rule 403; Hearsay
          Chief Strategist," New York Times, May 19, 2016
          "Trump Campaign Announces Expanded Role For Paul Manafort,"
1002-A                                                                                 SDNY_00410813 to SDNY_00410814   Relevance; Rule 403; Hearsay
          ABC News, May 19, 2016

 1003     "Donald Trump Fires Corey Lewandowski, His Campaign                          SDNY_00078807 to SDNY_00078810   Relevance; Rule 403; Hearsay
          Manager," New York Times, June 20, 2016

 1004*    "How Paul Manafort Wielded Power in Ukraine Before Advising                  SDNY_00410079 to SDNY_00410083   Relevance; Rule 403; Hearsay
          Donald Trump," New York Times, July 31, 2016

 1005     "Secret Ledger in Ukraine Lists Cash for Donald Trump's Campaign             SDNY_00410084 to SDNY_00410090   Relevance; Rule 403; Hearsay
          Chief," New York Times, August 14, 2016
          "Manafort tied to undisclosed foreign lobbying," Associated Press,
 1006*                                                                                 SDNY_00410091 to SDNY_00410095   Relevance; Rule 403; Hearsay
          August 17, 2016
          "Trump advisers waged covert influence campaign," Associated
 1007                                                                                  SDNY_00410096 to SDNY_00410099   Relevance; Rule 403; Hearsay
          Press, August 18, 2016

 1008     "Paul Manafort Quits Donald Trump's Campaign After a                         SDNY_00078821 to SDNY_00078824   Relevance; Rule 403; Hearsay
          Tumultuous Run," New York Times, August 19, 2016
          Genesis Capital Master Fund II v. MC Brooklyn Holdings et al.,
 1009                                                                                  SDNY_00003651 to SDNY_00003793
          Summons and Verified Complaint
          Genesis Capital Master Fund II v. MC Brooklyn Holdings et al.,
 1010                                                                                            SDNY_00003814
          Affadavit of Service
 1011     FEC records regarding Calk donations                                                   SDNY_00003363
          Genesis Capital Master Fund II v. MC Brooklyn Holdings et al.,
 1012                                                                                            SDNY_00003823
          Affirmation Discontinuing Action
 1013     New York Times front page, August 15, 2016                                             SDNY_00411620          Relevance; Rule 403; Hearsay

 1014*    "Anthony Scaramucci predicts a 'resounding' 40-state landslide for           SDNY_00411634 to SDNY_00411637   Relevance; Rule 403; Hearsay
          Trump in the 2020 election," July 3, 2019

1014-A*   "Anthony Scaramucci predicts a 'resounding' 40-state landslide for                     SDNY_00411638          Relevance; Rule 403; Hearsay
          Trump in the 2020 election," July 3, 2019, video
          "Grassroots America shows the people support Donald Trump,"
 1015*                                                                                 SDNY_00411639 to SDNY_00411640   Relevance; Rule 403; Hearsay
          April 19, 2019
 1016*                                                                                 SDNY_00411641 to SDNY_00411641   Relevance; Rule 403; Hearsay
          Anthony Scaramucci tweet screenshot, March 23, 2019
                                                                                       SDNY_00411642 to SDNY_00411643   Relevance; Rule 403; Hearsay
 1017*    "President Trump: An Unsung Bipartisan Hero," January 3, 2019
                                                                                1100 Series
                                                                               DOD Documents
  GX                               Description                                              Bates Range/Identifier                Defense Objections
          Email from Kevin Sweeney to Sally Donnelly with attachment,
                                                                                       SDNY_00238506 to SDNY_00238508
 1101*    February 4, 2017
                                                                                       SDNY_00410831 to SDNY00411049    Authenticity; Relevance; Rule 403; Hearsay
 1102     Stephen Calk military records
                                                                                 1150 Series
                                                                               Yohai Documents
  GX                                 Description                                             Bates Range/Identifier               Defense Objections

          Email from Paul Manafort to Kathy Manafort, Jessica Manafort, Jeff                     SDNY_00330923          Relevance; Rule 403; Hearsay
 1151     Yohai, and Andrea Manafort, May 19, 2016

          Email from Paul Manafort to bbaldinger@baldingerlaw.com and                            SDNY_00322325          Hearsay
 1152     Jeff Yohai, November 9, 2016
                                                                                 1200 Series
                                                                                   Photos
  GX                                 Description                                               Bates Range/Identifier             Defense Objections
 1201     Photo of Stephen Calk                                                                  TFSB_000000699
 1202     Photo of Paul Manafort                                                                 SDNY_00410815
 1203     Photo of 120 Broadway                                                                  SDNY_00410816
 1204     Photo of 174 Jobs Lane                                                                 SDNY_00410817
 1205     Photo of 377 Union Street                                                              SDNY_00410818
 1206     Photo of 601 N Fairfax                                                                 SDNY_00410819
 1207     Photo of 2401 Nottingham                                                               SDNY_00410820
 1208     Photo of Anna Ivakhnik                                                                 SDNY_00410821
 1209     Photo of Anthony Scaramucci                                                            SDNY_00410822
 1210     Photo of James Norini                                                                  SDNY_00410823
 1211     Photo of Jared Kushner                                                                 SDNY_00410824
 1212     Photo of Javier Ubarri                                                                 SDNY_00410825
 1213     Photo of Jeffrey Yohai                                                                 SDNY_00410826
 1214     Photo of Michael's Restaurant                                                          SDNY_00410827
 1215     Photo of Rick Gates                                                                    SDNY_00410828
 1216     Photo of TFSB, Chicago, IL                                                             SDNY_00410829
 1217     Photo of Trump Tower, New York, NY                                                     SDNY_00410830
 1218     Photo of Dennis Raico                                                                  SDNY_00411050
